778 F.2d 673
    UNITED STATES of America, Plaintiff-Appellee,v.Philip WEINSTEIN, "Dr. Philip Adamelli," Wilhelmina HarichWeinstein, Solomon Richman, a/k/a "Sol" a/k/a"Silver Fox," Robert "Bobby" Falvo,Defendants-Appellants.UNITED STATES of America, Plaintiff-Appellee,v.Stanley KOWITT, Defendant-Appellant.
    Nos. 83-5260, 83-5570.
    United States Court of Appeals,Eleventh Circuit.
    Dec. 16, 1985.
    
      Philip Weinstein and Wilhelmina Harich Weinstein, pro se.
      David R. Mackenzie, P.A., Lauderhill, Fla., Harvey M. Stone, New York City, for Falvo.
      Drew Neville, Oklahoma City, Okl., B.J. Rothbaum, Jr., New York City, for Richman.
      Fine, Jacobson, Block, Klein, Colan &amp; Simon, P.A., Irwin J. Block, Theodore Klein, Miami, Fla., for defendants-appellants.
      Stanley Marcus, U.S. Atty., Miami, Fla., Gloria C. Phares, Washington, D.C., for plaintiff-appellee.
      Appeals from the United States District Court for the Southern District of Florida.
      ON PETITION FOR REHEARING AND SUGGESTIONS FOR REHEARING EN BANC
      (Opinion June 12, 1985, 11 Cir., 762 F.2d 1522)
      Before HILL, FAY and SMITH*, Circuit Judges.
      PER CURIAM:
    
    
      1
      The panel opinion is modified by the following amendments:  Change the word "vacated" to "reversed" where used in the last sentence of Part III.  B. 2. b. of the opinion, 762 F.2d at 1535 and the second sentence of Part VIII of the opinion, 762 F.2d at 1543.
    
    
      2
      The following sentence is struck from Part IV A of the opinion, 762 F.2d at 1537:
    
    
      3
      Because we vacate Wilhelmina Weinstein's conviction on this ground, we decline to review further her claims as to sufficiency of the evidence.
    
    In its place the following is substituted:
    
      4
      Because we reverse Wilhelmina Weinstein's conviction on this ground, we will not recite at length the remaining evidence against her.  As observed above, it was sufficient.
    
    
      5
      In all other respects, the Petitions for Rehearing are DENIED and no member of this panel nor other judge in regular active service on the Court having requested that the Court be polled on rehearing en banc (Rule 35, Federal Rules of Appellate Procedure;  Eleventh Circuit Rule 26), the Suggestions for Rehearing En Banc are DENIED.
    
    
      
        *
         Honorable Edward S. Smith, U.S. Circuit Judge for the Federal Circuit, sitting by designation
      
    
    